                             In the United States District Court
                            For the Eastern District of Wisconsin
                                     Green Bay Division
 Michael Langenhorst, Michael D.
 LeMay, Stephen Fifrick,                        Case No.: 1:20-cv-1701
                                  Plaintiffs,
          v.                                    Plaintiff’s Memorandum Supporting
 Laure Pecore, in her official capacity         Motion to Expedite
 as Clerk of Menominee County,
 Wisconsin; Scott McDonell, in his              Expedited Consideration Requested
 official capacity as Clerk of Dane
 County, Wisconsin; George L.
 Christenson, in his official capacity as
 Clerk of Milwaukee County, Wisconsin;
 Julietta Henry, in her official capacity
 as Milwaukee County, Wisconsin
 Elections Director; Rick Baas, Dawn
 Martin, and Tim Posnanski, in their
 official capacities as Milwaukee
 County, Wisconsin Election
 Commissioners; Ann S. Jacobs, in her
 official capacity as Chair of the
 Wisconsin Elections Commission,
 Mark L. Thomsen, in his official
 capacity as Vice-Chair of the Wisconsin
 Elections Commission, Marge
 Bostelmann, in her official capacity as
 Secretary of the Wisconsin Elections
 Commission; Julie M. Glancey, Dean
 Knudson, and Robert F. Spindell, Jr.
 in their official capacities as Wisconsin
 Election Commissioners; and Tony
 Evers, in his official capacity as
 Governor of the State of Wisconsin,
                                 Defendants

                Plaintiffs’ Memorandum Supporting Their Motion to Expedite

       Plaintiffs Michael Langenhorst, Michael D. LeMay, and Stephen Fifrick (collectively

“Voters”), pursuant to Federal Rule of Civil Procedure 57, move this Court for an expedited

schedule, expedited discovery, and an expedited hearing on the merits of Plaintiffs’Verified
Complaint for Declaratory and Injunctive Relief.

        Voters will be irreparably harmed unless this matter is fully resolved on an expedited

basis and request a prompt scheduling conference to establish an expedited schedule for the

resolution of this case.

        Voters allege that their U.S. Constitutional right to vote has been infringed by vote

dilution because illegal ballots were cast and counted in the identified counties, which casts in

doubt on the result of the election for Presidential Electors in these counties and in the state.

Voters believe that the proof of these illegal ballots lies in the official, nonpublic polling lists and

other nonpublic information and seek immediate access to that official data.

        Voters have no remedy at law if the presidential-election results from the identified

counties are included in the certified totals for election of Presidential Electors from this state.

The Presidential Electors are to be certified by December 8 and to meet and vote on December

14, 2020, leaving insufficient time for a new election in the counties involved, and so the

appropriate remedy is to disallow the election results in the identified counties. Because the

constitutional and statutory procedures for the Electoral College move expeditiously, this case

must be resolved expeditiously.

        Voters propose the following schedule:

        (1) All discovery requests and responses thereto, and all third party subpoenas and

responses thereto shall be completed no later than November 18, 2020;

        (2) A trial brief will be filed with the Court by all parties no later than one business day

prior to the scheduled trial on the merits;

        (3) A trial on the merits to be scheduled the week of November 23, 2020; and


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        (4) This Court will rule promptly on the matter after the trial on the matter.

Request for Expedited Discovery

        Voters will be irreparably harmed if discovery is not expedited. Voters will perform

complete data analysis to demonstrate that sufficient illegal ballots were included in the election

results in identified counties to change or place in doubt the November 3 presidential-election

results. Voters will submit expert reports based on data analysis comparing state mail-

in/absentee, provisional, and poll-book records for this election, which are currently not publicly

available, with state voter-registration databases, United States Postal Service (“USPS”) records,

Social Security records, criminal-justice records, department-of-motor-vehicle records, and other

governmental and commercial sources by using sophisticated and groundbreaking programs to

detect and quantify the extent of illegal voters and illegal votes, including double votes, votes by

ineligible voters, votes by phantom (fictitious) voters, felon votes (where illegal), non-citizen

votes, illegal ballot harvesting, and pattern recognition to identify broader underlying subversion

of the election results.

        Voters have persons already in place with such expertise and data-analysis software who

have begun preliminary analysis of available data to which final data, not currently publicly

available such as the official poll list, will be added. However, much of the information

necessary for the expert report is not publicly available and is in the hands of Defendants or other

government agencies. Expedited discovery is necessary to obtain this information.

        The usual discovery timetable will not allow the gathering of official, nonpublic, up-to-

date data necessary for the analyses that are central to Voters’ claims. Voters request this Court

waive certain discovery rules in order to expedite discovery to allow them access to this data and


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enable the case to proceed under the proposed schedule.

       Accordingly, Voters request that this Court order expedition of all discovery according to

the proposed schedule and waive certain discovery rules that would impede expedited discovery,

as follows.

       (1) Voters request that this Court waive the provisions of Federal Rule of Civil Procedure

26(a)(1) requiring initial disclosure and order that initial disclosure need not be made in order to

expedite discovery.

       (2) Voters further request that this Court waive the requirements of Federal Rule of Civil

Procedure 26(f) that parties must confer before initiating discovery and order that Voters may

begin discovery immediately pursuant to Federal Rule of Civil Procedure 26(d)(1).

       (3) Voters further request that this Court waive the requirements of Federal Rule of Civil

Procedure 45(a)(4) of notice to all parties prior to serving third party subpoenas and permit third

party subpoenas to be served immediately without prior notice.

       (4) Voters further request that discovery be allowed to proceed irrespective of any

Preliminary Pretrial Conference pursuant to Civil Local Rule 16(a), and that discovery may

proceed prior to any Preliminary Pretrial Conference.

       (5) Voters further request that discovery be allowed to proceed irrespective of any LcvR

16.1 Pretrial Conference, and that any requirement of such Pretrial Conference to plan discovery

before discovery may proceed be waived.

       (6) Voters further request that discovery be allowed to proceed irrespective of parties

conferring pursuant to LR 26.1(a) and (b), that the requirement for conference, scheduling, and

creating a discovery plan be waived, and that discovery may proceed forthwith.


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       (7) Voters further request that any local rule regarding requirements for preliminary

pretrial conferences, pretrial conferences, and discovery plans are waived so that discovery may

proceed forthwith.

Conclusion

       For these reasons, Voters respectfully request this Court order:

       (1) All discovery requests and responses thereto, and all third party subpoenas and

responses thereto, shall be expedited and completed no later than November 18, 2020;

       (2) A trial brief will be filed with the Court by all parties no later than one business day

prior to the scheduled trial on the merits;

       (3) A trial on the merits to be scheduled the week of November 23, 2020,

       (4) This Court will rule promptly on the matter after the trial on the matter, and

       (5) With respect to discovery,

               (a) The Court waives the provisions of Federal Rule of Civil Procedure 26(a)(1)

requiring initial disclosure and orders that initial disclosure need not be made in order to expedite

discovery.

               (b) The Court waives the requirements of Federal Rule of Civil Procedure 26(f)

that parties must confer before initiating discovery and orders that Voters may begin discovery

immediately pursuant to Federal Rule of Civil Procedure 26(d)(1).

               (c) The Court waives the requirements of Federal Rule of Civil Procedure 45(a)(4)

of notice to all parties prior to serving third party subpoenas and permits third party subpoenas to

be served immediately without prior notice.

               (d) The Court orders that discovery be allowed to proceed irrespective of any


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Preliminary Pretrial Conference pursuant to Civil Local Rule 16(a), and that discovery may

proceed prior to any Preliminary Pretrial Conference.

               (f) The Court orders that discovery be allowed to proceed irrespective of any

LcvR 16.1 Pretrial Conference, and that any requirement of such Pretrial Conference to plan

discovery before discovery may proceed be waived.

               (g) The Court orders that discovery be allowed to proceed irrespective of parties

conferring pursuant to LR 26.1(a) and (b), that the requirement for conference, scheduling, and

creating a discovery plan be waived, and that discovery may proceed forthwith.




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Date: November 13, 2020
                          Respectfully Submitted,


                          /s/ Michael D. Dean
                          Michael Dean (WI #SBN 01019171)
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                          Brookfield, WI 53008
                          Local Counsel for Plaintiffs

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                                      Certificate of Service

       I hereby certify that on November 13, 2020, I caused the foregoing and all exhibits and

attachments thereto in the above-captioned matter to be filed with the United States District

Court for the Eastern District of Wisconsin, Green Bay Division, via the Court’s CM/ECF

system. I also hereby certify that I caused the foregoing and all exhibits and attachments thereto

in the above-captioned matter to be served via email upon:

Scott McDonell, Clerk of Dane County, Wisconsin;

George L. Christenson Clerk Milwaukee County, Wisconsin;

Julietta Henry Milwaukee County Elections Director;

Rick Bass, Dawn Martin, Tim Posnanski Milwaukee County Election Commissioners;

Ann S. Jacobs, Mark L. Thomsen, Marge Bostelmann, Julie M. Glancy, Dean Knudson, Robert

F. Spindell, Jr., Wisconsin Election Commissioners.




                                                               /s/ Michael D. Dean
                                                               Michael D. Dean




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